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                    Exhibit C
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                                    FOIA Expedited Processing and Fee Waiver Appeal


                                                                    March 24, 2025

                     Electronically submitted

                     Executive Director for the Office of Privacy and Disclosure
                     Social Security Administration
                     G-401 WHR, 6401 Security Boulevard
                     Baltimore, MD 21235
                     FOIA.Public.Liaison@ssa.gov

National Office      Re:    Freedom of Information Act Appeal
125 Broad Street,
18th Floor                  Appeal of Denial of Expedited Processing and Fee Waiver for FOIA
New York, NY 10004
aclu.org
                            Request No. S9H: 2025-FOIA-00956

Deborah N. Archer    To Whom It May Concern:
President

Anthony D. Romero
                            The American Civil Liberties Union and the American Civil Liberties
Executive Director   Union Foundation (together, the “ACLU”) write to appeal the Social Security
                     Administration (“SSA”) response to Freedom of Information Act (“FOIA”)
                     Request No. S9H: 2025-FOIA-00956 (the “Request,” attached as Exhibit A). The
                     Request, dated February 7, 2025, seeks records pertaining to access to sensitive
                     agency records by individuals associated with the so-called Department of
                     Government Efficiency (“DOGE”), also known as the United States DOGE
                     Service (“USDS”).

                            In a letter dated February 13, 2025 (the “Response,” attached as Exhibit
                     B), SSA denied the ACLU’s requests for expedited processing and for a fee
                     waiver. The ACLU hereby appeals both denials.

                            I.      The Request Meets the Standard for Expedited Processing

                             SSA denied expedited processing on grounds that the Request does not
                     qualify under one of the three required categories: “when there is an imminent
                     threat to the life or safety of a person; when the requestor is primarily engaged in
                     disseminating information, and shows an urgency to inform the public about
                     actual or alleged government activities; or When the requestor can show, in detail
                     and to our satisfaction, that a prompt response is needed because the requester
                     may be denied a legal right, benefit, or remedy without the requested information,
                     and that it cannot be obtained elsewhere in a reasonable amount of time.” See Ex.
                     B at 2. See also 20 CFR § 402.65(a); 5 U.S.C. § 552(a)(6)(E). The ACLU’s
                     request falls under the second category, and the ACLU appeals SSA’s denial of
                     expedited processing.
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                                          As explained exhaustively in the Request, Ex. A at 5–9, the ACLU meets
                                  the definition of a person “primarily engaged in disseminating information”
                                  because obtaining information about government activity, analyzing that
                                  information, and widely publishing and disseminating it to the press and public
                                  are critical and substantial components of the ACLU’s work and are among its
                                  primary activities. See ACLU v. Dep’t of Just., 321 F. Supp. 2d 24, 29 n.5 (D.D.C.
                                  2004) (finding non-profit public interest group that “gathers information of
                                  potential interest to a segment of the public, uses its editorial skills to turn the raw
                                  material into a distinct work, and distributes that work to an audience” to be
                                  “primarily engaged in disseminating information”).

                                           The Request details “an urgency to inform the public about actual or
                                  alleged government activities.” 20 CFR § 402.65(a)(2); 5 U.S.C. §
                                  552(a)(6)(E)(i)(I), (a)(6)(E)(v)(II). The records sought relate to a matter of
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UNION FOUNDATION
                                  widespread and exceptional media and public interest in USDS access to federal
                                  agency systems containing sensitive information, and whether USDS access to or
                                  use of these sensitive records violates federal privacy protections. The public and
                                  press have a pressing need for information to facilitate understanding of USDS’s
                                  role in potentially compromising the privacy protections of millions of
                                  Americans, and more information is urgently needed to assess the scope of
                                  USDS’s activities and SSA’s response.

                                         USDS’s access to federal agencies’ records systems has been and
                                  continues to be the subject of extraordinary and sustained attention in the public
                                  and the press, with new coverage published daily since promulgation of the
                                  Executive Order establishing USDS on January 20, 2025. 1 News outlets,
                                  government officials, and bipartisan U.S. lawmakers have raised sustained
                                  questions and concerns about the legal, constitutional, and policy implications of
                                  USDS’s highly questionable conduct across multiple government agencies. 2


                                      1
                                         See Executive Order, Establishing and Implementing The President’s “Department of
                                  Government Efficiency” (Jan. 20, 2025); see also, e.g., Madeleine Ngo & Theodore Schleifer,
                                  How Trump’s Department of Government Efficiency Will Work, N.Y. Times (Jan. 21, 2025),
                                  https://www.nytimes.com/2025/01/21/us/politics/doge-government-efficiency-trump-musk.html;
                                  Natalie Alms, Trump Signs Order Setting Up DOGE with a Focus on Government Tech, Gov’t
                                  Executive (Jan. 21, 2025), https://www.govexec.com/management/2025/01/trump-signs-order-
                                  setting-doge-focus-government-tech/402362/.
                                      2
                                         See, e.g., Adam Cancryn, DOGE Working With Two Trump Health Appointees to Examine
                                  Medicare and Medicaid Books, Politico (Feb. 7, 2025),
                                  https://www.politico.com/news/2025/02/07/doge-trump-appointees-medicare-medicaid-
                                  00203211; AJ Dellinger, ‘Most Transparent Administration in History’ is Shredding Documents
                                  and Ignoring FOIA, Gizmodo (Mar. 11, 2025), https://gizmodo.com/most-transparent-
                                  administration-in-history-is-shredding-documents-and-ignoring-foia-2000574561; Andrew
                                  Duehren & Cecilia Kang, Struggle Over Americans’ Personal Data Plays Out Across the



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                                  Government, N.Y. Times (Feb. 19, 2025),
                                  https://www.nytimes.com/2025/02/19/us/politics/elon-musk-doge-personal-data.html; Anna
                                  Wilde Mathews & Liz Essley Whyte, DOGE Aides Search Medicare Agency Payment Systems
                                  for Fraud, Wall Street J. (Feb. 5, 2025), https://www.wsj.com/politics/elon-musk-doge-
                                  medicare-medicaid-fraud-e697b162; C.J. Ciaramella, DOGE Isn’t Exempt from FOIA Requests,
                                  Judge Rules, Reason (Mar. 11, 2025), https://reason.com/2025/03/11/doge-isnt-exempt-from-
                                  foia-requests-judge-rules/; Dan Diamond et al., DOGE Broadens Sweep of Federal Agencies,
                                  Gains Access to Health Payment Systems, Wash. Post (Feb. 5, 2025),
                                  https://www.washingtonpost.com/health/2025/02/05/doge-health-agencies-labor/; David Ingram,
                                  Elon Musk and DOGE are Hacking the Government, NBC News (Feb. 4, 2025),
                                  https://www.nbcnews.com/tech/tech-news/elon-musk-doge-usaid-treasury-government-
                                  rcna190450; Eyal Press, What Will DOGE’s Moves on Government Agencies Mean for OSHA?,
                                  New Yorker (Feb. 10, 2025), http://newyorker.com/news/the-lede/what-will-doges-moves-on-
                                  government-agencies-mean-for-osha; Danielle Douglas-Gabriel, Judge Temporarily Blocks
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UNION FOUNDATION                  DOGE Access to Sensitive Information at Two Agencies, Wash. Post (Feb. 24, 2025),
                                  https://www.washingtonpost.com/education/2025/02/24/doge-education-department-opm-
                                  sensitive-information/; Eugene Daniels, Trump Sets Musk’s DOGE on Defense, Education
                                  Departments, Politico (Feb. 7, 2025), https://www.politico.com/news/2025/02/07/trump-musk-
                                  pentagon-education-014337; Faiz Siddiqui et al., DOGE’s Grab of Personal Data Stokes
                                  Privacy and Security Fears, Wash. Post (Feb. 25, 2025),
                                  https://www.washingtonpost.com/business/2025/02/25/elon-musk-doge-data-privacy-security/;
                                  Hannah Natanson et al., Move Fast, Break Things, Rebuild: Elon Musk’s Strategy for U.S.
                                  Government, Wash. Post (Feb. 24, 2025),
                                  https://www.washingtonpost.com/technology/2025/02/24/doge-fast-cuts-federal-workers-
                                  programs-elon-musk/; Hannah Parry, DOGE Announces It's Slashing $881M from Education
                                  Department Contracts: Live Updates, Newsweek (Feb. 11, 2025),
                                  https://www.newsweek.com/doge-announces-its-slashing-881m-education-department-
                                  contracts-live-updates-2029353; Isaac Stanley-Becker et al., Musk’s DOGE Agents Access
                                  Sensitive Personnel Data, Alarming Security Officials, Wash. Post (Feb. 6, 2025),
                                  https://perma.cc/A7W5-7BBP; Jack Queen & David Bario, Judge Declines to Block DOGE from
                                  Labor Department Systems, Reuters (Feb. 10, 2025), https://www.reuters.com/world/us/us-
                                  judge-declines-block-elon-musks-doge-labor-department-systems-2025-02-08/; Jeanne Sahadi,
                                  DOGE Wants Access to Your Tax and Social Security Data. These Two Laws are Supposed to
                                  Protect You, CNN (Feb. 25, 2025), https://www.cnn.com/2025/02/25/business/doge-personal-
                                  data-access-federal-agencies/index.html; Jeff Stein et al., Acting IRS Commissioner to Step
                                  Down Amid DOGE Blitz on Agency, Wash. Post (Feb. 24, 2025),
                                  https://www.washingtonpost.com/business/2025/02/24/irs-commissioner-steps-down-musk-
                                  doge/; Jeff Stein et al., Top IRS Lawyer Pushed Aside as DOGE Seeks Records and 20% Staff
                                  Cuts, Wash. Post (Mar. 13, 2025), https://www.washingtonpost.com/business/2025/03/13/musk-
                                  doge-irs-trump/; Jesse Coburn, DOGE Gains Access to Confidential Records on Housing
                                  Discrimination, Medical Details—Even Domestic Violence, ProPublica (Feb. 26, 2025),
                                  https://www.propublica.org/article/doge-elon-musk-hud-housing-discrimination-privacy-
                                  domestic-violence; Jonathan Swan et al., Inside Musk’s Aggressive Incursion Into the Federal
                                  Government, N.Y. Times (Feb. 3, 2025),
                                  https://www.nytimes.com/2025/02/03/us/politics/musk-federal-government.html; Joseph
                                  Gedeon, Federal Judge Orders Doge to Release Internal Records for Transparency, The



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                                  Public discussion of this program has focused on three main issues. First, the
                                  potential mishandling of sensitive data by individuals associated with USDS, as
                                  little to no information has been provided to the public on the standards under
                                  which they were hired or the authority or regulations under which they operate. 3


                                  Guardian (Mar. 11, 2025), https://www.theguardian.com/us-news/2025/mar/11/judge-orders-
                                  doge-document-release; Joyce Lupiani, Elon Musk’s DOGE Team Visits CDC in Atlanta,
                                  Reports Say, FOX 5 Atlanta (Feb. 6, 2025), https://www.fox5atlanta.com/news/elon-musks-
                                  doge-team-visits-cdc-atlanta-reports-say; Judge Blocks 2 Federal Agencies from Disclosing
                                  Personal Records to Trump Advisor Musk’s DOGE, Assoc. Press (Feb. 24, 2025),
                                  https://apnews.com/article/doge-musk-judge-989e1eea65bd910dd569da3c28486b2d; Michael
                                  Stratford, Judge Questions Constitutionality of DOGE, Musk’s Role, Politico (Feb. 24, 2025),
                                  https://www.politico.com/news/2025/02/24/judge-questions-constitutionality-doge-elon-musk-
                                  00205866; Matt Bracken, DOGE Must Comply with Expedited Request to Release Records,
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UNION FOUNDATION                  crew/; Molly Bohannon & Derek Saul, Treasury Chief Bessent Says He’s ‘Completely Aligned’
                                  With Elon Musk: Here’s What to Know About DOGE, Forbes (Feb. 6, 2025),
                                  https://www.forbes.com/sites/mollybohannon/2025/02/06/treasury-chief-bessent-says-hes-
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                                  Says Musk’s DOGE Must Release Records on Operations Run in Secrecy, Reuters (Mar. 11,
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                                  operations-run-secrecy-2025-03-11/; Nicole Alvarez, The Privacy Act of 1974 Was Designed to
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                                  https://www.americanprogress.org/article/the-privacy-act-of-1974-was-designed-to-protect-us-
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                                  https://apnews.com/article/elon-musk-doge-lawsuit-attorneys-general-
                                  5733f8985e4cf7ad5b233fddefef4d01; Siladitya Ray, Federal Judge Says Musk’s DOGE Must
                                  Make Records Public—Questions ‘Unusual Secrecy,’ Forbes (Mar. 11, 2025),
                                  https://www.forbes.com/sites/siladityaray/2025/03/11/federal-judge-rules-doge-must-disclose-
                                  records-about-its-operation-to-comply-with-federal-transparency-law/; Sean Michael Newhouse,
                                  Multiple Groups File Lawsuits to Get DOGE Records, Gov’t Exec. (Feb. 27, 2025),
                                  https://www.govexec.com/oversight/2025/02/multiple-groups-file-lawsuits-get-doge-
                                  records/403343/; Vittoria Elliott et al., A 25-Year-Old with Elon Musk Ties Has Direct Access to
                                  the Federal Payment System, WIRED (Feb. 4, 2025), https://perma.cc/LB74-HWC9.
                                      3
                                         See, e.g., Benjamin S. Weiss, House Dems Demand Records on DOGE Structure,
                                  Activities at Federal Agencies, Courthouse News Service (Mar. 18, 2025),
                                  https://www.courthousenews.com/house-dems-demand-records-on-doge-structure-activities-at-
                                  federal-agencies/; David Klepper, Democratic Senators Protest After They Say Trump Gives
                                  Musk’s Staff Access to Classified Info, Assoc. Press (Feb. 5, 2025),
                                  https://apnews.com/article/elon-musk-trump-doge-intelligence-cia-
                                  4a4e99c7925b02e014e6e65d2ef9a055; Laura Strickler & Courtney Kube, Secrecy is Becoming a
                                  Defining Trait of Elon Musk’s DOGE, NBC News (Feb. 7, 2025),
                                  https://www.nbcnews.com/politics/white-house/secrecy-becoming-defining-characteristic-elon-
                                  musks-doge-rcna190966; WIRED Staff, The US Treasury Claimed DOGE Technologist Didn’t
                                  Have ‘Write Access’ When He Actually Did, WIRED (Feb. 6, 2025),
                                  https://www.wired.com/story/treasury-department-doge-marko-elez-access.


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                                  Second, individuals associated with USDS have proposed use of artificial
                                  intelligence tools to analyze large volumes of federal government records, raising
                                  concerns that sensitive personal information is being fed to shadowy algorithms,
                                  further compromising the privacy of Americans and potentially leading to flawed
                                  decisionmaking. 4 Third, access to sensitive data is controlled by federal privacy
                                  statutes and regulations, including the Privacy Act, the E-Government Act of 2002
                                  (including the Federal Information Security Management Act and the
                                  Confidential Information Protection and Statistical Efficiency Act), taxpayer
                                  privacy laws including 26 U.S.C § 6103, and other provisions. Public debate has
                                  raised urgent concerns that USDS’s access to and use of such data may be
                                  unlawful or otherwise in contravention of existing regulations, 5 and lawsuits
                                  continue to be filed alleging violation of federal data privacy and security
                                  requirements. 6

                                          USDS’s access to and interference with SSA records systems has received
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                                  particularized attention over concerns that representatives of USDS may be
                                  accessing sensitive personal and financial data associated with the department,
                                  including Social Security numbers and medical, work, and pay records. 7 Indeed,

                                      4
                                         See, e.g., Hannah Natanson et al., Elon Musk’s Doge Is Feeding Sensitive Federal Data
                                  into AI to Target Cuts, Wash. Post (Feb. 6, 2025),
                                  https://www.washingtonpost.com/nation/2025/02/06/elon-musk-doge-ai-department-education/;
                                  Jonathan Swan et al., Inside Musk’s Aggressive Incursion into the Federal Government, N.Y.
                                  Times (Feb. 3, 2025), https://www.nytimes.com/2025/02/03/us/politics/musk-federal-
                                  government.html.
                                      5
                                         See, e.g., Alison Durkee & Forbes Staff, Elon Musk and DOGE’s Access to Student Loan
                                  Data Raises Concern—Here’s What to Know, Forbes (Feb. 10, 2025),
                                  https://www.forbes.com/sites/alisondurkee/2025/02/10/elon-musk-and-doges-access-to-student-
                                  loan-data-raises-concern-heres-what-to-know/; Anthony Izaguirre, Federal Judge Blocks Elon
                                  Musk’s DOGE from Accessing Sensitive US Treasury Department Material, AP (Feb. 8, 2025),
                                  https://abc7ny.com/post/federal-judge-blocks-elon-musks-doge-donald-trump-administration-
                                  accessing-sensitive-us-treasury-department-material/15881252/; Lauren Feiner, Trump
                                  Administration Illegally Allowed DOGE to Access Workers’ Data, Lawsuit Alleges, Verge (Feb.
                                  11, 2025, https://www.theverge.com/news/609990/eff-doge-privacy-lawsuit-opm-trump-musk.
                                      6
                                        See Ex. A at 10 n.13; see also, e.g., Am. Federation of State, Cnty. & Municipal Empls.,
                                  AFL-CIO v. Social Sec. Admin., No. 1:25-cv-00596 (D. Md. filed Feb. 21, 2025); Ctr. For
                                  Taxpayer Rights v. IRS, No. 1:25-cv-00457 (D.D.C. filed Feb. 17, 2025); Gribbon v. Musk, No.
                                  1:25-cv-00422 (D.D.C. filed Feb. 12, 2025); Am. Federation of Gov’t Emps., AFL-CIO v. U.S.
                                  Off. of Personnel Management, No. 25-cv-1237 (S.D.N.Y. filed Feb. 11, 2025); Elec. Privacy
                                  Info. Ctr. v. U.S. Off. of Personnel Management, No. 25-cv-255 (E.D. Va. filed Feb. 10, 2025);
                                  Am. Federation of Teachers v. Bessent, No. 25-cv-430 (D. Md. filed Feb. 10, 2025); Nat’l
                                  Treasury Emps. Union v. Vought, No. 25-cv-380 (D.D.C. filed Feb. 9, 2025).
                                      7
                                         See, e.g., Fatima Hussein, Social Security Head Steps Down Over DOGE Access of
                                  Recipient Information, AP Sources Say, Assoc. Press (Feb. 17, 2025),
                                  https://apnews.com/article/social-security-elon-musk-doge-



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                                  USDS personnel recently announced their efforts to “clean up” SSA records
                                  systems in attempts to remove individuals they suspect to be deceased. 8 In
                                  response to these pressing security and privacy concerns, litigation has already
                                  commenced, including a lawsuit challenging USDS access to SSA records as
                                  illegal under the Privacy Act, Administrative Procedure Act, Social Security Act,
                                  and Internal Revenue Code, and other laws. 9 A declaration by SSA’s former
                                  acting chief of staff in the case stressed concerns that USDS employees “[lack] a
                                  sufficient understanding of the sensitive nature of SSA data or the ways to ensure
                                  such data’s confidentiality” and note that “[i]n such a chaotic environment, the
                                  risk of data leaking into the wrong hands is significant.” 10 On March 20, the court
                                  granted a temporary restraining order, explaining that

                                             SSA provided members of the SSA DOGE Team with unbridled
                                             access to the personal and private data of millions of Americans,
                                             including but not limited to Social Security numbers, medical
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                                             records, mental health records, hospitalization records, drivers’
                                             license numbers, bank and credit card information, tax information,
                                             income history, work history, birth and marriage certificates, and
                                             home and work addresses.

                                             Yet, [the SSA] never identified or articulated even a single reason
                                             for which the DOGE Team needs unlimited access to SSA’s entire
                                             record systems, thereby exposing personal, confidential, sensitive,




                                  164c91f8477d5e7833af7f6de4bbde57; Laurel Wamsley, The Government Already Knows a Lot
                                  About You. DOGE is Trying to Access All of It, NPR (Mar. 11, 2025),
                                  https://www.npr.org/2025/03/11/nx-s1-5305054/doge-elon-musk-security-data-information-
                                  privacy; Lisa Rein, Former Social Security Official Describes Hostile Takeover by Musk Team,
                                  Wash. Post (Mar. 10, 2025, 5:00 AM),
                                  https://www.washingtonpost.com/politics/2025/03/10/musk-social-security-data-doge-trump;
                                  Lisa Rein et al., Top Social Security Official Exits After Clash with Musk’s DOGE Over Data,
                                  Wash. Post (Feb. 17, 2025), https://www.washingtonpost.com/politics/2025/02/17/doge-social-
                                  security-musk/; Makena Kelly & David Gilbert, These Are the 10 DOGE Operatives Inside the
                                  Social Security Administration, WIRED (Mar. 13, 2025), https://www.wired.com/story/doge-
                                  operatives-access-social-security-administration/.
                                      8
                                         See Dep’t of Gov’t Efficiency (@DOGE), X (Mar. 18, 2025, 2:25 AM),
                                  https://x.com/DOGE/status/1901882509463630073?ref_src=twsrc%5Egoogle%7Ctwcamp%5Es
                                  erp%7Ctwgr%5Etweet; Shane Croucher & Aliss Higham, DOGE Announces ‘Major Cleanup’
                                  for Social Security, Newsweek (Mar. 18, 2025), https://www.newsweek.com/doge-announces-
                                  major-cleanup-social-security-2046231.
                                      9
                                        See Am. Federation of State, Cnty., & Mun. Emps., AFL-CIO v, Soc. Sec. Admin., No.
                                  1:25-cv-00596 (D. Md.) [hereinafter “AFSCME v. SSA”].
                                      10
                                           See Ex. J., Tiffany Flick Decl. at 7, 12, AFSCME v. SSA. (ECF No. 22-10).


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                                             and private information that millions of Americans entrusted to their
                                             government. 11

                                           In light of the above, the Request meets the criteria for expedited
                                  processing in 20 CFR § 402.65(a) and the FOIA statute. The ACLU’s entitlement
                                  to expedited processing is further confirmed because the Request satisfies the
                                  factors courts have looked to in applying the expedited processing standard under
                                  the FOIA statute. As explained above, the topics covered by the request are “the
                                  subject of current news coverage,” and they “concern[] a matter of current
                                  exigency to the American public.” Al-Fayed v. C.I.A., 254 F.3d 300, 308, 310
                                  (D.C. Cir. 2001). Further, the “consequences of delaying a response would
                                  compromise a significant recognized interest” or have a “significant adverse
                                  consequence.” Id. at 310–11. As one court explained when granting a temporary
                                  restraining order against USDS access to sensitive records systems within the
                                  Treasury Department, USDS activities pose a “risk . . . of the disclosure of
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                                  sensitive and confidential information” and a “heightened risk that the systems in
                                  question will be more vulnerable than before to hacking.” Order at 2, State of N.Y.
                                  v. Trump, No. 25-cv-1144-JAV (S.D.N.Y. Feb. 8, 2025) (ECF No. 6). Another
                                  judge subsequently granted a preliminary injunction in the same case, finding that
                                  “there is a substantial risk of future harm where the data access protocols in place
                                  do not satisfactorily vet the [USDS-affiliated] employees with access and
                                  rigorously train them in data security measures.” State of N.Y. v. Trump, No. 25-
                                  cv-1144-JAV, 2025 WL 573771, at *26 (S.D.N.Y. Feb. 21, 2025). In another case
                                  challenging USDS access to sensitive records systems maintained by several
                                  federal agencies, a judge expressed “serious concerns about the privacy concerns
                                  raised by this case, and those concerns are all the graver now that the data includes
                                  information on all Americans who rely on Medicare and Medicaid, as well as
                                  countless consumers.” Am. Fed'n of Lab. & Cong. of Indus. Organizations v. Dep't
                                  of Lab., No. CV 25-0339 (JDB), 2025 WL 542825, at *1 (D.D.C. Feb. 14, 2025). 12
                                  And in yet another case, a judge granted a temporary restraining order,
                                  recognizing that “unauthorized disclosure of the plaintiffs’ sensitive personal
                                  information [to DOGE personnel without proper authorization] is an injury in
                                  fact” and holding that the government has failed to demonstrate that DOGE
                                  personnel have legitimate need for access to the type of highly sensitive personal
                                  information contained in agency systems of records, and that irreparable harm
                                  will result from misuse of that data. Am. Fed'n of Tchrs. v. Bessent, No. CV DLB-
                                  25-0430, 2025 WL 582063, at *7, 11–12, 14 (D. Md. Feb. 24, 2025). And a court
                                  recently found similarly as to USDS access to SSA records systems, explaining
                                  that irreparable harm may result from people’s “sensitive, personally identifiable
                                  information [being] accessible to the DOGE Team on a daily basis, with no proper


                                      11
                                           Mem. Op. at 132, AFSCME v. SSA (Mar. 20, 2025) (ECF No. 49).
                                      12
                                        The court denied a motion for a temporary restraining order but recognized that the
                                  complex legal issues and significant alleged harms should be addressed with “further briefing
                                  and analysis on a motion for preliminary injunction.” Id. at *5.


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                                  justification.” Mem. Op. at 129, AFSCME v. SSA (Mar. 20, 2025) (ECF No. 49).

                                          But because the public lacks accurate information about the extent of
                                  USDS access to federal data systems, including in SSA, members of the public,
                                  lawmakers, and courts face barriers to ensuring compliance with critical privacy
                                  laws and regulations, meaning the vulnerabilities to sensitive and confidential
                                  information may continue unabated until accurate information about USDS
                                  activities is released.

                                          “Neither FOIA nor the departmental regulations require the requester to
                                  prove wrongdoing by the government in order to obtain documents on an
                                  expedited basis.” Citizens for Resp. & Ethics in Washington v. U.S. Dep't of Just.,
                                  436 F. Supp. 3d 354, 361 (D.D.C. 2020) (emphasis added). Rather, it is sufficient
                                  if “the request raised ‘possible questions’ about government integrity that could
                                  affect public confidence.” Id. The Request has done that here.
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                          In sum, the active public debate about the actions of USDS and the
                                  urgency to provide information about federal government activity warrant that the
                                  Request receive expedited processing. The ACLU respectfully asks that you direct
                                  SSA to grant expedited processing and promptly process the Request. Indeed,
                                  other agencies, including the Centers for Disease Control, Internal Revenue
                                  Service Office of Personnel Management, Department of Homeland Security, and
                                  others, have granted expedited processing of the same Request.

                                         II.     The ACLU Is Entitled to a Fee Waiver

                                          SSA denied the ACLU’s request for a fee waiver on the grounds that the
                                  Request has not shown “how the disclosure of the information you requested will
                                  meet the . . . factors” regarding whether disclosure of the requested information is
                                  in the public interest set out in the SSA’s regulations, 20 C.F.R. § 402.85. Ex. B
                                  at 2–3. Those factors are:

                                         (i) How the records pertain to the Federal Government's operations
                                         or activities;

                                         (ii) Whether disclosure would reveal any meaningful information
                                         about Government operations or activities not already known to the
                                         public; and

                                         (iii) Whether the contribution to public understanding of those
                                         operations or activities would be significant.

                                  20 C.F.R. § 402.85(b)(2). The Request seeks records to significantly contribute to
                                  the public’s understanding of SSA’s operations as they pertain to USDS’s access
                                  to sensitive systems, and the ACLU hereby appeals SSA’s denial of a fee waiver.




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                                           As explained in the Request and in the expedited processing section of this
                                   appeal, supra, serious concerns have been raised about whether USDS access to
                                   or use of these sensitive records violate federal privacy protections and whether
                                   U.S. government actors are outsourcing important and complex decisionmaking
                                   to black-box AI algorithms. The Request seeks records related to the SSA’s
                                   operations as they pertain to USDS access to sensitive information. This satisfies
                                   the first factor. See Judicial Watch, Inc. v. Rossotti, 326 F.3d 1309, 1313 (D.C.
                                   Cir. 2003); see also Prison Legal News v. Lappin, 436 F. Supp. 2d 17, 26 (D.D.C.
                                   2006); Citizens for Resp. & Ethics in Washington v. U.S. Dep’t of Health & Hum.
                                   Servs., 481 F. Supp. 2d 99, 107–08 (D.D.C. 2006).

                                           The Request also satisfies the second factor, as the records sought would
                                   reveal meaningful information about government operations and activities not
                                   already known to the public. As detailed above, there has been little to no
                                   information provided to the public on the standards under which individuals
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                   associated with USDS were hired or the authority or regulations under which they
                                   operate. See supra note 3. And because so little is known, the contribution would
                                   be significant, satisfying the third factor. See Cause of Action v. FTC, 961 F. Supp.
                                   2d 142, 156 (D.D.C. 2013) (“When the requested information is not publicly
                                   available, it will more likely contribute significantly to public understanding.”).
                                   The public and press have a pressing need for information to facilitate
                                   understanding of USDS’s role in potentially compromising the privacy
                                   protections of millions of Americans, and the ACLU will make any information
                                   disclosed as a result of the Request available to the public at no cost. See Judicial
                                   Watch, 326 F.3d at 1314 (noting the ways in which the plaintiff communicated
                                   collected information to the public); Forest Guardians v. U.S. Dep’t of Interior,
                                   416 F.3d 1173, 1179–80 (10th Cir. 2005) (noting that “[w]hile the requested
                                   records may be publicly available in piecemeal and hard-to-access form,” the
                                   plaintiff “plan[ned] to broadly disseminate compiled information”).

                                           The recent decision of a federal court granting a temporary restraining
                                   order against unfettered USDS access to SSA records underscores the degree to
                                   which the information sought in the Request is needed by the public, but is not
                                   publicly available. As the court explained, Americans “know their sensitive,
                                   personally identifiable information is accessible to the DOGE Team on a daily
                                   basis, with no proper justification.” Mem. Op. at 129, AFSCME v. SSA (Mar. 20,
                                   2025) (ECF No. 49). But they “do not know if their information has been viewed
                                   or documented by any of these employees, nor how many times it has been viewed
                                   or will continue to be viewed in the coming hours, days, weeks, or months.” Id.
                                   The public also lacks information about whether “all members of the DOGE Team
                                   were SSA employees at the time access was granted,” id. at 115, and why USDS
                                   and SSA believe USDS-affiliated personnel have a permissible “‘need’ for the
                                   breadth of access to SSA records that was provided to the DOGE Team.” Id. at
                                   121. As the court noted, “[c]ounsel [for the government] offered no meaningful
                                   explanation as to why the DOGE Team was in ‘need’ of unprecedented, unfettered
                                   access to virtually SSA’s entire data systems in order to accomplish the goals of


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                                   modernizing technology, maximizing efficiency and productivity, and detecting
                                   fraud, waste, and abuse.” Id.

                                           Congress intended courts to liberally construe the fee waiver requests of
                                   noncommercial entities, Forest Guardians, 416 F.3d at 1181–82, and indeed,
                                   other agencies, including the Internal Revenue Service, U.S. Citizenship and
                                   Immigration Services, and the Centers for Disease Control, have granted a fee
                                   waiver for the same Request. The ACLU respectfully asks that you direct SSA to
                                   grant a fee waiver for the Request.

                                          SSA’s Response also determines that, notwithstanding FOIA’s fee
                                   provisions, SSA intends to “charge the full cost for search and reproduction of
                                   records” under section 1106(c) of the Social Security Act (Act) (42 U.S.C. §
                                   1306(c)). Ex. B at 3. The ACLU requests reconsideration of this determination on
                                   two grounds.
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                           First, the authority granted by section 1106(c) is discretionary. See (42
                                   U.S.C. § 1306(c) (the agency “may require the requester to pay the full cost . . .
                                   of providing such information”) (emphasis added). See also 20 C.F.R. § 402.80
                                   (“Section 1106(c) of the Social Security Act permits the agency to charge the full
                                   cost to process requests for information for purposes not directly related to the
                                   administration of program(s) under the Social Security Act. This may be done
                                   notwithstanding the fee provisions in FOIA . . . .”) (emphases added). In light of
                                   the extraordinary public interest in the subject matter of the Request, see supra,
                                   the ACLU asks the SSA to drop its invocation of section 1106(c) and apply the
                                   properly granted fee waiver.

                                           Second, section 1106(c) applies only to FOIA requests made for a
                                   “purpose not directly related to the administration of the program or programs
                                   under this chapter to which such information relates.” 42 U.S.C. § 1306(c).
                                   Although the regulations provide criteria that SSA considers when determining
                                   whether requested information is program-related, those criteria are advisory
                                   only, and the regulations require SSA to “consider each request on a case-by-case
                                   basis.” 20 C.F.R. § 402.80(d)(2). Here, the records sought are “directly related to
                                   the administration of a program under the Act for which SSA has responsibility,”
                                   id. § 402.80(d)(1)(ii), because they concern access to, security of, and use of
                                   sensitive and personal records held by SSA and used for administration of
                                   programs and provision of benefits. The administration of SSA programs relies
                                   on accurate and secure records containing personally identifiable information of
                                   Americans, including medical information, financial data, biographical
                                   information and, of course, social security numbers. The request seeks records
                                   regarding protections against improper access to, use of, and corruption of that
                                   data, which directly implicates the administration of SSA programs.

                                                                         ***



                                                                           10
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                                          I affirm that the information provided supporting the request for expedited
                                   processing is true and correct to the best of my knowledge and belief. Thank you
                                   for your attention to this matter.


                                                                        Sincerely,




                                                                        __________________________
                                                                        Nathan Freed Wessler
                                                                        Lauren Yu
                                                                        Sophie Feng
                                                                        American Civil Liberties Union
AMERICAN CIVIL LIBERTIES                                                  Foundation
UNION FOUNDATION                                                        125 Broad Street, 18th Floor
                                                                        New York, New York 10004
                                                                        T: 212.549.2500
                                                                        nwessler@aclu.org




                                                                          11
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                  Exhibit A
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                                       FOIA Request / Expedited Processing Requested


                                                                    February 7, 2025
                     Electronically submitted

                     Recipients (full addressee list provided in addendum):

                           •   Commerce Department (including the Census Bureau and National
                               Oceanic and Atmospheric Administration)
                           •   Consumer Finance Protection Bureau
                           •   Department of Agriculture (including the Food and Nutrition Service)
                           •   Department of Defense (including the Defense Manpower Data Center)
National Office            •   Department of Education
125 Broad Street,          •   Department of Health and Human Services (including the Administration
18th Floor
New York, NY 10004             for Children and Families, Centers for Medicare & Medicaid Services,
aclu.org                       Centers for Disease Control, National Institutes of Health, Food and
                               Drug Administration, Program Support Center, and Substance Abuse and
Deborah N. Archer
President
                               Mental Health Services Administration)
                           •   Department of Homeland Security (including the Federal Emergency
Anthony D. Romero              Management Agency and U.S. Citizenship and Immigration Services)
Executive Director
                           •   Department of Housing and Urban Development
                           •   Department of the Interior (including the Bureau of Indian Affairs and
                               National Park Service)
                           •   Department of Justice (including the Federal Bureau of Investigation and
                               Executive Office of U.S. Attorneys)
                           •   Department of Labor (including the Mine Safety and Health
                               Administration and Occupational Safety and Health Administration)
                           •   Department of State (including the U.S. Agency for International
                               Development)
                           •   Department of Veterans Affairs
                           •   Equal Employment Opportunity Commission
                           •   General Services Administration
                           •   Office of Management and Budget
                           •   Office of Personnel Management
                           •   Social Security Administration
                           •   Treasury Department (including the Bureau of Fiscal Service and
                               Internal Revenue Service)

                     Re:       Request Under Freedom of Information Act Concerning U.S. DOGE
                               Service Access to Sensitive Agency Records Systems

                               (Expedited Processing & Fee Waiver/Limitation Requested)
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                                   To Whom It May Concern:

                                           The American Civil Liberties Union and the American Civil Liberties
                                   Union Foundation (together, the “ACLU”) 1 submit this Freedom of Information
                                   Act (“FOIA”) request (the “Request”) for records pertaining to access to
                                   sensitive agency records by individuals associated with the so-called
                                   Department of Government Efficiency (“DOGE”), also known as the United
                                   States DOGE Service (“USDS”).

                                                                               I. Background

                                           On January 20, 2025, President Trump issued an executive order
                                   establishing the “Department of Government Efficiency,” renaming the United
                                   States Digital Service as the “United States DOGE Service (USDS),”
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                   “establish[ing]” USDS in the Executive Office of the President, and establishing
                                   a temporary organization, “the U.S. DOGE Service Temporary Organization,”
                                   pursuant to 5 U.S.C. § 3161. For purposes of this Request, these entities are
                                   collectively referred to as “USDS.”

                                            In the weeks since, numerous press reports have discussed individuals
                                   affiliated with or representing USDS requesting or gaining access to various
                                   federal agency systems of records, data repositories, databases, computer
                                   matching programs, and other systems containing sensitive information. This
                                   reportedly includes the Treasury Department’s payment system; personnel
                                   records of federal employees, contractors, and applicants; federal student loan
                                   records; federal benefits payee records; and more. Many of these records are
                                   protected by federal laws and regulations, including the Privacy Act, the Health
                                   Information Portability and Accountability Act (HIPAA) and the HIPAA
                                   Privacy Rule, the E-Government Act of 2002, including the Federal Information
                                   Security Management Act and the Confidential Information Protection and
                                   Statistical Efficiency Act, taxpayer privacy laws including 26 U.S.C § 6103, and
                                   other provisions. Serious concerns have been raised about whether USDS access
                                   to or use of these sensitive records violates these and other federal privacy
                                   protections.

                                          Additionally, reports have indicated that individuals associated with
                                   USDS have proposed or implemented programs to use artificial intelligence to
                                   analyze large volumes of federal government records for purposes including

                                       1
                                         The American Civil Liberties Union Foundation is a 26 U.S.C. § 501(c)(3) organization
                                   that provides legal representation free of charge to individuals and organizations in civil rights
                                   and civil liberties cases, and educates the public about civil rights and civil liberties issues across
                                   the country. The American Civil Liberties Union is a separate non-profit, 26 U.S.C. § 501(c)(4)
                                   membership organization that educates the public about the civil liberties implications of
                                   pending and proposed state and federal legislation, provides analysis of pending and proposed
                                   legislation, directly lobbies legislators, and mobilizes its members to lobby their legislators.


                                                                                        2
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                                   identifying “potential redundancies and budget reductions.” 2 This raises
                                   concerns about whether U.S. government actors are outsourcing important and
                                   complex decision-making to black-box AI algorithms, and whether feeding
                                   people’s sensitive information to unvetted algorithms further risks
                                   compromising Americans’ privacy.

                                          To provide the American public with information about this highly
                                   consequential and fast-moving situation, the ACLU seeks the following
                                   information through this FOIA request.

                                                                      II. Requested Records

                                           The ACLU seeks the release of records for the period beginning at noon
                                   Eastern Standard Time on January 20, 2025—including but not limited to
                                   written communications (including emails, SMS messages, and messages sent
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                   on platforms including but not limited to iMessage, Slack, Microsoft Teams,
                                   WhatsApp, and Signal) and memoranda—concerning the following:

                                          (1)     Any request by persons affiliated with or representing DOGE or
                                   USDS for access to any data repository, database, system of records, computer
                                   matching program, code base, or other system containing personally identifiable
                                   information (PII), personnel records (including records of federal employees,
                                   contractors, and applicants), financial data, health data, or other sensitive data,
                                   and any response to such request;

                                            (2)    Any decision, analysis or discussion about whether access to any
                                   data repository, database, system of records, computer matching program, code
                                   base, or other system containing personally identifiable information (PII),
                                   personnel records, financial data, health data, or other sensitive data by persons
                                   affiliated with or representing DOGE or USDS is prohibited or constrained by
                                   statute, regulation, or rule. This includes but is not limited to any discussion of
                                   protections provided by the Privacy Act; the Health Information Portability and
                                   Accountability Act (HIPAA) and the HIPAA Privacy Rule; the E-Government
                                   Act of 2002, including the Federal Information Security Management Act and
                                   the Confidential Information Protection and Statistical Efficiency Act; taxpayer
                                   privacy laws including 26 U.S.C § 6103; the Family Educational Rights and
                                   Privacy Act (FERPA); and census record privacy laws including 13 U.S.C. §§ 9
                                   & 214; and

                                           (3)     Any proposed or actual use of artificial intelligence, including but
                                  not limited to services, models, or other software applications provided by xAI or


                                       2
                                        Kate Conger et al., Musk Allies Discuss Deploying A.I. to Find Budget Savings, N.Y.
                                   Times (Feb. 3, 2025), https://www.nytimes.com/2025/02/03/technology/musk-allies-ai-
                                   government.html.


                                                                                   3
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                                  Grok, by or at the direction or request of persons affiliated with or representing
                                  DOGE or USDS to analyze agency records or data.

                                           For purposes of this request, “persons affiliated with or representing
                                  DOGE or USDS” includes, but is not limited to, (1) any individual employed by
                                  or volunteering with DOGE or USDS, including as a Special Government
                                  Employee; (2) any Special Government Employee who began work with a
                                  federal agency on or after January 20, 2025; (3) any employee hired by a federal
                                  agency since Jan. 20, 2025 who previously worked at Tesla, Inc.; X Corp.; Space
                                  Exploration Technologies Corporation (SpaceX); The Boring Company (TBC);
                                  or X.AI Corp.; or (4) the following named individuals, who have been publicly
                                  reported 3 as being affiliated with or representing DOGE or USDS:
                                               • Anthony Armstrong;
                                               • Riccardo Biasini;
AMERICAN CIVIL LIBERTIES
                                               • Brian Bjelde;
UNION FOUNDATION                               • Akash Bobba;
                                               • Edward Coristine;
                                               • Steve Davis;
                                               • Marko Elez;
                                               • Luke Farritor;
                                               • Nicole Hollander;
                                               • Gavin Kilger;
                                               • Gautier “Cole” Killian;
                                               • Michael Kratsios;
                                               • Tom Krause;
                                               • Matt Luby;
                                               • Nikhil Rajpal;
                                               • Rachel Riley;
                                               • Michael Russo;


                                       3
                                          See, e.g., Avi Asher-Schapiro et al., Elon Musk’s Demolition Crew, ProPublica (Feb. 6,
                                   2025), https://projects.propublica.org/elon-musk-doge-tracker/; Daniel Barnes et al., Trump
                                   administration agrees to restrict DOGE access to Treasury Department payment systems, NBC
                                   News (Feb. 5, 2025), https://www.nbcnews.com/politics/politics-news/trump-administration-
                                   agrees-restrict-doge-access-treasury-department-p-rcna190898; Revolving Door Project, The
                                   People Reportedly Aiding Elon Musk and DOGE’s Attack on the Federal Government (Feb. 5,
                                   2025), https://therevolvingdoorproject.org/reportedly-doge/; Tim Reid, Exclusive: Musk aides
                                   lock workers out of OPM computer systems, Reuters (Feb. 2, 2025),
                                   https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-
                                   us-agency-sources-say-2025-01-31/; Vittoria Elliott, The Young, Inexperienced Engineers
                                   Aiding Elon Musk’s Government Takeover, WIRED (Feb. 2, 2025),
                                   https://www.wired.com/story/elon-musk-government-young-engineers/; Natalie Alms, Musk
                                   visits and asserts growing influence at GSA, Nextgov/FCW (Jan. 30, 2025),
                                   https://www.nextgov.com/people/2025/01/musk-visits-and-asserts-growing-influence-
                                   gsa/402628.


                                                                                   4
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                                                •   Amanda Scales;
                                                •   Ethan Shaotran;
                                                •   Thomas Shedd;
                                                •   Brad Smith; and
                                                •   Joanna Wischer.


                                           With respect to the form of production, see 5 U.S.C. § 552(a)(3)(B), the
                                   ACLU requests that responsive electronic records be provided electronically in
                                   their native file format, if possible. Alternatively, the ACLU requests that the
                                   records be provided electronically in a text-searchable, static-image format
                                   (PDF), in the best image quality in the agency’s possession, and that the records
                                   be provided in separate, Bates-stamped files.

AMERICAN CIVIL LIBERTIES
                                                           III. Application for Expedited Processing
UNION FOUNDATION

                                           The ACLU requests expedited processing pursuant to 5 U.S.C.
                                   § 552(a)(6)(E) and the Agency’s regulations. There is a “compelling need” for
                                   these records, as defined in the statute, because the information requested is
                                   “urgen[tly]” needed by an organization primarily engaged in disseminating
                                   information “to inform the public concerning actual or alleged Federal
                                   Government activity.” 5 U.S.C. § 552(a)(6)(E)(v)(II).

                                   A.       The ACLU is an organization primarily engaged in disseminating
                                            information in order to inform the public about actual or alleged
                                            government activity.

                                           The ACLU is “primarily engaged in disseminating information” within
                                   the meaning of the statute and regulations. See id. Obtaining information about
                                   government activity, analyzing that information, and widely publishing and
                                   disseminating it to the press and public are critical and substantial components
                                   of the ACLU’s work and are among its primary activities. See ACLU v. Dep’t of
                                   Justice, 321 F. Supp. 2d 24, 29 n.5 (D.D.C. 2004) (finding non-profit public
                                   interest group that “gathers information of potential interest to a segment of the
                                   public, uses its editorial skills to turn the raw material into a distinct work, and
                                   distributes that work to an audience” to be “primarily engaged in disseminating
                                   information”). 4

                                          The ACLU regularly publishes the ACLU magazine that reports on and
                                   analyzes civil liberties-related current events. The magazine is disseminated to


                                        4
                                         Courts have found that the ACLU as well as other organizations with similar missions that
                                   engage in information-dissemination activities similar to the ACLU are “primarily engaged in
                                   disseminating information.” See, e.g., Leadership Conference on Civil Rights v. Gonzales, 404
                                   F. Supp. 2d 246, 260 (D.D.C. 2005); ACLU, 321 F. Supp. 2d at 29 n.5; Elec. Privacy Info. Ctr. v.
                                   DOD, 241 F. Supp. 2d 5, 11 (D.D.C. 2003).


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                                   over 1 million donors. The ACLU also publishes regular updates and alerts via
                                   email to 4.8 million subscribers (both ACLU members and non-members).
                                   These updates are additionally broadcast to over 6.6 million social media
                                   followers. The magazine as well as the email and social-media alerts often
                                   include descriptions and analysis of information obtained through FOIA
                                   requests.

                                         The ACLU also regularly issues press releases to call attention to
                                   documents obtained through FOIA requests, as well as other breaking news, 5
                                   and ACLU attorneys are interviewed frequently for news stories about
                                   documents released through ACLU FOIA requests. 6


                                       5
                                          See, e.g., Press Release, ACLU, Government Releases New Court Opinions Highlighting
                                   Further Abuse of Warrantless FISA Surveillance Program (July 21, 2023); Press Release,
AMERICAN CIVIL LIBERTIES           ACLU, New Records Detail DHS Purchase and Use of Vast Quantities of Cell Phone Location
UNION FOUNDATION                   Data (July 18, 2022), https://www.aclu.org/news/privacy-technology/new-records-detail-dhs-
                                   purchase-and-use-of-vast-quantities-of-cell-phone-location-data; Press Release, ACLU, ACLU
                                   Files FOIA Request Seeking Records Related to Detained Immigrants’ Ability to Access
                                   Counsel (December 17, 2021), https://www.aclu.org/press-releases/aclu-files-foia-request-
                                   seeking-records-related-detained-immigrants-ability-access; Press Release, ACLU, ACLU Files
                                   FOIA Request to Uncover COVID Impact and Cost of Federal Executions (August 6, 2022),
                                   https://www.aclu.org/press-releases/aclu-files-foia-request-uncover-covid-impact-and-cost-
                                   federal-executions; Press Release, ACLU, New Records Detail How the FBI Pressures Police to
                                   Keep Use of Shady Phone Surveillance Technology a Secret (June 22, 2023),
                                   https://www.aclu.org/press-releases/new-records-detail-how-the-fbi-pressures-police-to-keep-
                                   use-of-shady-phone-surveillance-technology-a-secret; Press Release, ACLU, ACLU Announces
                                   Major Settlement in Family Separation Lawsuit (October 16, 2023), https://www.aclu.org/press-
                                   releases/aclu-announces-major-settlement-in-family-separation-lawsuit; Press Release, ACLU,
                                   In Win for Black Voters, Supreme Court Rejects Alabama’s Appeal in Milligan and Reaffirms
                                   State Must Draw Second Opportunity District Press Release, ACLU, Federal Court Permanently
                                   Blocks Billions of Dollars in Border Wall Construction (June 28, 2019),
                                   https://www.aclu.org/press-releases/federal-court-permanently-blocks-billions-dollars-border-
                                   wall-construction; Press Release, ACLU, New Documents Reveal NSA Improperly Collected
                                   Americans’ Call Records Yet Again (June 26, 2019), https://www.aclu.org/press-releases/new-
                                   documents-reveal-nsa-improperly-collected-americans-call-records-yet-again; Press Release,
                                   ACLU, ACLU and Center for Media Justice Sue FBI for Records on Surveillance of Black
                                   Activists (Mar. 21, 2019), https://www.aclu.org/press-releases/aclu-and-center-media-justice-
                                   sue-fbi-records-surveillance-black-activists; Press Release, ACLU, ACLU, Privacy International
                                   Demand Government Disclose Nature and Extent of Hacking Activities (Dec. 21, 2018),
                                       6
                                          See, e.g., Corin Faife, Feds Are Tracking Phone Locations With Data Bought From
                                   Brokers, The Verge (July 18, 2022), https://www.theverge.com/2022/7/18/23268592/feds-
                                   buying-location-data-brokers-aclu-foia-dhs; Jessica Votipka, ACLU Files Suit Against Grand
                                   Island School That Ended High School Newspaper, Journal Star (Mar. 31, 2023),
                                   https://journalstar.com/news/state-and-regional/crime-and-courts/aclu-files-suit-against-
                                   northwest-public-schools/article_4c514454-abc7-533f-b133-498c140cd030.html; Charlie
                                   Savage, N.S.A. Gathered Domestic Calling Records It Had No Authority to Collect, N.Y. Times,
                                   June 26, 2019, https://www.nytimes.com/2019/06/26/us/telecom-nsa-domestic-calling-
                                   records.html (quoting ACLU attorney Patrick Toomey); Rachel Frazin, ACLU Sues FBI Over
                                   Black Activist Surveillance Records, Hill (Mar. 21, 2019), https://thehill.com/policy/national-
                                   security/fbi/435143-fbi-sued-over-black-activist-surveillance-records (quoting ACLU attorney
                                   Nusrat Choudhury); Cora Currier, TSA’s Own Files Show Doubtful Science Behind Its



                                                                                    6
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                                            Similarly, the ACLU publishes reports about government conduct and
                                   civil liberties issues based on its analysis of information derived from various
                                   sources, including information obtained from the government through FOIA
                                   requests. This material is broadly circulated to the public and widely available to
                                   everyone for no cost or, sometimes, for a small fee. ACLU national projects
                                   regularly publish and disseminate reports that include a description and analysis
                                   of government documents obtained through FOIA requests. 7 The ACLU also
                                   regularly publishes books, “know your rights” materials, fact sheets, and
                                   educational brochures and pamphlets designed to educate the public about civil
                                   liberties issues and government policies that implicate civil rights and liberties.

                                           The ACLU publishes a widely read blog where original editorial content
                                   reporting on and analyzing civil rights and civil liberties news is posted daily.
                                   See https://www.aclu.org/blog. The ACLU creates and disseminates original
AMERICAN CIVIL LIBERTIES
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                                   editorial and educational content on civil rights and civil liberties news through
                                   multi-media projects, including videos, podcasts, and interactive features. See


                                   Behavioral Screen Program, Intercept (Feb. 8, 2017), https://theintercept.com/2017/02/08/tsas-
                                   own-files-show-doubtful-science-behind-its-behavior-screening-program (quoting ACLU
                                   attorney Hugh Handeyside); Larry Neumeister, Judge Scolds Government over Iraq Detainee
                                   Abuse Pictures, The Associated Press (Jan. 18, 2017),
                                   https://www.apnews.com/865c32eebf4d457499c017eb837b34dc (quoting ACLU project
                                   director Hina Shamsi); Karen DeYoung, Newly Declassified Document Sheds Light on How
                                   President Approves Drone Strikes, Wash. Post (Aug. 6, 2016), http://wapo.st/2jy62cW (quoting
                                   former ACLU deputy legal director Jameel Jaffer); Catherine Thorbecke, What Newly Released
                                   CIA Documents Reveal About ‘Torture’ in Its Former Detention Program, ABC, June 15, 2016,
                                   http://abcn.ws/2jy40d3 (quoting ACLU attorney Dror Ladin); Nicky Woolf, US Marshals Spent
                                   $10M on Equipment for Warrantless Stingray Device, Guardian (Mar. 17, 2016),
                                   https://www.theguardian.com/world/2016/mar/17/us-marshals-stingray-surveillance-airborne
                                   (quoting ACLU attorney Nathan Freed Wessler); David Welna, Government Suspected of
                                   Wanting CIA Torture Report to Remain Secret, NPR (Dec. 9, 2015), http://n.pr/2jy2p71 (quoting
                                   ACLU project director Hina Shamsi).
                                        7
                                          See, e.g., ACLU, Bad Trip: Debunking the TSA’s ‘Behavior Detection’ Program (2017),
                                   https://www.aclu.org/sites/default/files/field_document/dem17-tsa_detection_report-v02.pdf;
                                   Carl Takei, ACLU-Obtained Emails Prove that the Federal Bureau of Prisons Covered Up Its
                                   Visit to the CIA’s Torture Site (Nov. 22, 2016), https://www.aclu.org/blog/speak-freely/aclu-
                                   obtained-emails-prove-federal-bureau-prisons-covered-its-visit-cias-torture; Brett Max
                                   Kaufman, Details Abound in Drone ‘Playbook’ – Except for the Ones That Really Matter Most
                                   (Aug. 8, 2016), https://www.aclu.org/ blog/speak-freely/details-abound-drone-playbook-except-
                                   ones-really-matter-most; ACLU, Leaving Girls Behind: An Analysis of Washington D.C.’s
                                   “Empowering Males of Color” Initiative (2016), https://www.aclu.org/ report/leaving-girls-
                                   behind; Nathan Freed Wessler, ACLU-Obtained Documents Reveal Breadth of Secretive
                                   Stingray Use in Florida (Feb. 22, 2015), https://www.aclu.org/blog/free-future/aclu-obtained-
                                   documents-reveal-breadth-secretive-stingray-use-florida; Nathan Freed Wessler, FBI Documents
                                   Reveal New Information on Baltimore Surveillance Flights (Oct. 30, 2015), https://www.aclu.
                                   org/blog/free-future/fbi-documents-reveal-new-information-baltimore-surveillance-flights;
                                   Ashley Gorski, New NSA Documents Shine More Light into Black Box of Executive Order 12333
                                   (Oct. 30, 2014), https://www.aclu.org/blog/new-nsa-documents-shine-more-light-black-box-
                                   executive-order-12333.


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                                   https://www.aclu.org/multimedia. The ACLU also publishes, analyzes, and
                                   disseminates information through its heavily visited website, www.aclu.org. The
                                   website addresses civil rights and civil liberties issues in depth, provides features
                                   on civil rights and civil liberties issues in the news, and contains many
                                   thousands of documents relating to the issues on which the ACLU is focused.
                                   The ACLU’s website also serves as a clearinghouse for news about ACLU
                                   cases, including analysis about case developments and an archive of case-related
                                   documents. Through these pages, and with respect to each specific civil liberties
                                   issue, the ACLU provides the public with educational material, recent news,
                                   analyses of relevant congressional or executive branch action, government
                                   documents obtained through FOIA requests, and further in-depth analytic and
                                   educational multi-media features. 8

                                           The ACLU website includes many features on information obtained
                                   through the FOIA. For example, the ACLU maintains an online “Torture
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                                   Database,” a compilation of over 100,000 pages of FOIA documents that allows
                                   researchers and the public to conduct sophisticated searches of its contents
                                   relating to government policies on rendition, detention, and interrogation. 9 The

                                       8
                                          See, e.g., ACLU v. ODNI—FOIA Lawsuit Seeking Records About Government
                                   Surveillance Under the USA Freedom Act, ACLU Case Page, https://www.aclu.org/cases/aclu-
                                   v-odni-foia-lawsuit-seeking-records-about-government-surveillance-under-usa-freedom-act;
                                   ACLU v. DOJ—FOIA Lawsuit Seeking Information on Federal Agencies’ Surveillance of Social
                                   Media, ACLU Case Page, https://www.aclu.org/cases/aclu-v-doj-foia-lawsuit-seeking-
                                   information-federal-agencies-surveillance-social-media; ACLU v. DOJ—FOIA Case for Records
                                   Relating to Targeted Killing Law, Policy, and Casualties, ACLU Case Page,
                                   https://www.aclu.org/cases/aclu-v-doj-foia-case-records-relating-targeted-killing-law-policy-
                                   and-casualties; Executive Order 12,333—FOIA Lawsuit, ACLU Case Page,
                                   https://www.aclu.org/cases/executive-order-12333-foia-lawsuit; ACLU Motions Requesting
                                   Public Access to FISA Court Rulings on Government Surveillance, ACLU Case Page,
                                   https://www.aclu.org/cases/aclu-motions-requesting-public-access-fisa-court-rulings-
                                   government-surveillance; ACLU v. DOJ—FOIA Lawsuit Demanding OLC Opinion “Common
                                   Commercial Service Agreements, ACLU Case Page, https://www.aclu.org/cases/aclu-v-doj-foia-
                                   lawsuit-demanding-olc-opinion-common-commercial-service-agreements; FOIA Request for
                                   Justice Department Policy Memos on GPS Location Tracking, ACLU Case Page, https://www.
                                   aclu.org/cases/foia-request-justice-department-policy-memos-gps-location-tracking; Florida
                                   Stingray FOIA, ACLU Case Page, https://www.aclu.org/cases/florida-stingray foia; Nathan
                                   Freed Wessler, ACLU-Obtained Documents Reveal Breadth of Secretive Stingray Use in
                                   Florida, (Feb. 22, 2015) https://www.aclu.org/blog/free-future/aclu-obtained-documents-reveal-
                                   breadth-secretive-stingray-use-florida?redirect=blog/national-security-technology-and-
                                   liberty/aclu-obtained-documents-reveal-breadth-secretive-sting.
                                        9
                                          The Torture Database, ACLU, https://www.thetorturedatabase.org (last visited May 11,
                                   2017). See also, e.g., Countering Violent Extremism FOIA Database, ACLU Database,
                                   https://www.aclu.org/foia-collection/cve-foia-documents; TSA Behavior Detection FOIA
                                   Database, ACLU Database, https://www.aclu.org/foia-collection/tsa-behavior-detection-foia-
                                   database; ACLU, Targeted Killing FOIA Database, ACLU Database, https://www.aclu.org/foia-
                                   collection/targeted-killing-foia-database; ACLU, ACLU v. CIA - FOIA Case for Records
                                   Relating to Drone Killings, ACLU Database, https://www.aclu.org/national-security/predator-
                                   drones-foia; ACLU, FBI Releases Details of 'Zero-Day' Exploit Decisionmaking Process, Free
                                   Future Blog (June 26, 2015, 11:00 AM), https://www.aclu.org/blog/free-future/fbi-releases-



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                                   ACLU has also published a number of charts and explanatory materials that
                                   collect, summarize, and analyze information it has obtained through the FOIA. 10

                                          The ACLU plans to analyze, publish, and disseminate to the public the
                                   information gathered through this Request. The records requested are not sought
                                   for commercial use and the Requesters plan to disseminate the information
                                   disclosed as a result of this Request to the public at no cost.

                                   B.        The records sought are urgently needed to inform the public about
                                             actual or alleged government activity.

                                           These records are urgently needed to inform the public about actual or
                                   alleged government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II). Specifically, they
                                   pertain to whether federal agencies are violating federal laws, regulations, or
                                   policies by providing extraordinary access to sensitive information to individuals
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                                   associated with or representing USDS. USDS activities are the subject of
                                   widespread and intense public controversy and media attention, with multiple new
                                   breaking news stories published daily, including about USDS access to sensitive
                                   information, 11 and USDS use of artificial intelligence tools to analyze federal data


                                   details-zero-day-exploit-decisionmaking-process; ACLU, FBI Documents Reveal New
                                   Information on Baltimore Surveillance Flights, Free Future Blog (Oct. 30, 2015, 8:00 AM),
                                   https://www.aclu.org/blog/free-future/fbi-documents-reveal-new-information-baltimore-
                                   surveillance-flights; ACLU, ACLU v. DOJ - FOIA Case for Records Relating to Killing of Three
                                   U.S. Citizens (Dec. 30, 2016), https://www.aclu.org/national-security/anwar-al-awlaki-foia-
                                   request; ACLU, ACLU v. Dep't of Defense (Aug.18, 2015), https://www.aclu.org/cases/aclu-v-
                                   department-defense; ACLU, Mapping the FBI, https://www.aclu.org/mappingthefbi, (last visited
                                   May 11, 2017); ACLU, Bagram FOIA (Apr. 18, 2013), https://www.aclu.org/cases/
                                   bagram-foia; ACLU, CSRT FOIA, https://www.aclu.org/national-security/csrt-foia, (last visited
                                   May 11, 2017); ACLU,ACLU v. DOJ, Lawsuit to Enforce NSA Warrantless Surveillance FOIA
                                   http://www.aclu.org/safefree/nsaspying/30022res20060207.html, (last visited May 11, 2017);
                                   ACLU, Patriot FOIA¸ https://www.aclu.org/patriot-foia (last visited May 11, 2017); ACLU,
                                   NSL Documents Released by DOD, https://www.aclu.org/nsl-documents-released-
                                   dod?redirect=cpredirect/32088 (last visited May 11, 2017).
                                        10
                                           ACLU, FBI Documents Reveal New Information on Baltimore Surveillance Flights, Free
                                   Future Blog (Oct. 30, 2015, 8:00 AM), https://www.aclu.org/blog/free-future/fbi-documents-
                                   reveal-new-information-baltimore-surveillance-flights; Summary of FISA Amendments Act FOIA
                                   Documents Released on November 29, 2010, ACLU (Nov. 29, 2010),
                                   https://www.aclu.org/files/pdfs/natsec/faafoia 20101129/20101129Summary.pdf; Index of Bush-
                                   Era OLC Memoranda Relating to Interrogation, Detention, Rendition and/or Surveillance,
                                   ACLU (Mar. 5, 2009), https://www.aclu.org/sites/default/files/pdfs/ safefree/
                                   olcmemos_2009_0305.pdf; Statistics on NSL’s Produced by Department of Defense, ACLU,
                                   https://www.aclu.org/sites/default/files/field_document/nsl_stats.pdf.
                                        11
                                           See, e.g., Isaac Stanley-Becker, et al., Musk’s DOGE Agents Access Sensitive Personnel
                                   Data, Alarming Security Officials, Wash. Post (Feb. 6, 2025), https://perma.cc/A7W5-7BBP;
                                   Inside Musk’s Aggressive Incursion Into the Federal Government, N.Y. Times (Feb. 3, 2025),
                                   https://www.nytimes.com/2025/02/03/us/politics/musk-federal-government.html; Andrew
                                   Duehren, et al., Elon Musk’s Team Now Has Access to Treasury’s Payments System, N.Y. Times
                                   (Feb. 1, 2025), https://perma.cc/R9RN-DEFE; Vittoria Elliott, et al., A 25-Year-Old With Elon



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                                   or records and make decisions. 12 USDS access to sensitive data has also been the
                                   subject of multiple lawsuits filed since January 20, 13 and members of Congress
                                   have urgently raised alarms. 14 The records sought relate to a matter of widespread
                                   and exceptional public and media interest in the access USDS has to sensitive
                                   information.

                                            In spite of the extraordinary public interest in the activities of USDS,
                                   USDS and federal agencies have released little information about what access to
                                   sensitive data has been granted to individuals associated with USDS, and with
                                   what protections, if any. Given the extraordinary interest and the lack of public
                                   information, there is an urgent need to inform the public about the access persons
                                   affiliated with or representing DOGE or USDS have to sensitive information held
                                   by government agencies and the use of AI tools to analyze large repositories of
                                   agency records. An extraordinary debate about unprecedented activity within
                                   federal agencies is happening now, and accurate public information about agency
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                                   activities is urgently needed to inform that debate. Expedited processing is
                                   therefore appropriate under 5 U.S.C. § 552(a)(6)(E) and the Agency’s
                                   implementing regulations.

                                                      IV. Application for Waiver or Limitation of Fees

                                           The ACLU requests a waiver of document search, review, and
                                   duplication fees on the grounds that disclosure of the requested records is in the
                                   public interest and because disclosure is “likely to contribute significantly to
                                   public understanding of the operations or activities of the government and is not
                                   primarily in the commercial interest of the requester.” 5 U.S.C.


                                   Musk Ties Has Direct Access to the Federal Payment System, WIRED (Feb. 4, 2025),
                                   https://perma.cc/LB74-HWC9; Lauren Irwin, Senate Democrat: DOGE Has ‘Burrowed Into the
                                   Private Information of Every American,’ The Hill (Feb. 6, 2025), https://perma.cc/NPS9-SLDK;
                                   Musk's DOGE Granted Access to US Medicare and Medicaid Systems, Reuters (Feb. 5, 2025),
                                   https://perma.cc/36N8-TPAB; Vittoria Elliott, DOGE Will Allow Elon Musk to Surveil the US
                                   Government From the Inside, WIRED (Jan. 24, 2025), https://www.wired.com/story/doge-elon-
                                   musk/.
                                       12
                                           See, e.g., Hannah Natanson et al., Elon Musk’s DOGE is Feeding Sensitive Federal Data
                                   into AI to Target Cuts, Wash. Post (Feb. 6, 2025),
                                   https://www.washingtonpost.com/nation/2025/02/06/elon-musk-doge-ai-department-education/;
                                   Kate Conger et al., Musk Allies Discuss Deploying A.I. to Find Budget Savings, N.Y. Times
                                   (Feb. 3, 2025), https://www.nytimes.com/2025/02/03/technology/musk-allies-ai-
                                   government.html.
                                       13
                                         See, e.g., Alliance for Retired Americans v. Bessent, No. 25-313 (D.D.C. filed Feb. 3,
                                   2025); Hurubie Meko, State Attorneys General to Sue Over Musk’s Access to Government
                                   Systems, N.Y. Times (Feb. 6, 2025), https://www.nytimes.com/2025/02/06/nyregion/letitia-
                                   james-doge-suit.html.
                                       14
                                          See, e.g., Letter from Sen. Mark R. Warner et al. to Susie Wiles, White House Chief of
                                   Staff (Feb. 5, 2025), https://www.kelly.senate.gov/wp-content/uploads/2025/02/DOGE-
                                   Letter.pdf.


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                                   § 552(a)(4)(A)(iii). The ACLU also requests a waiver of search fees on the
                                   grounds that the ACLU qualifies as a “representative of the news media” and the
                                   records are not sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).

                                   A.     The Request is likely to contribute significantly to public understanding
                                          of the operations or activities of the government and is not primarily in
                                          the commercial interest of the ACLU.

                                           As discussed above, this Request concerns serious questions surrounding
                                   the extraordinary access to sensitive agency records by individuals associated
                                   with USDS. Little official information is publicly available regarding this topic,
                                   so the records sought are certain to contribute significantly to the public’s
                                   understanding.

                                          The ACLU is not filing this Request to further its commercial interest.
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                                   As described above, any information disclosed by the ACLU as a result of this
                                   FOIA Request will be available to the public at no cost. Thus, a fee waiver
                                   would fulfill Congress’s legislative intent in amending FOIA. See Judicial
                                   Watch, Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (“Congress
                                   amended FOIA to ensure that it be liberally construed in favor of waivers for
                                   noncommercial requesters.” (quotation marks omitted)).


                                   B.     The ACLU is a representative of the news media and the records are not
                                          sought for commercial use.

                                           The ACLU also requests a waiver of search fees on the grounds that the
                                   ACLU qualifies as a “representative of the news media” and the records are not
                                   sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II). The ACLU meets the
                                   statutory and regulatory definitions of a “representative of the news media”
                                   because it is an “entity that gathers information of potential interest to a segment
                                   of the public, uses its editorial skills to turn the raw materials into a distinct
                                   work, and distributes that work to an audience.” 5 U.S.C. § 552(a)(4)(A)(ii)(III);
                                   see also Nat’l Sec. Archive v. Dep’t of Defense, 880 F.2d 1381, 1387 (D.C. Cir.
                                   1989) (finding that an organization that gathers information, exercises editorial
                                   discretion in selecting and organizing documents, “devises indices and finding
                                   aids,” and “distributes the resulting work to the public” is a “representative of
                                   the news media” for purposes of the FOIA); Serv. Women’s Action Network v.
                                   Dep’t of Defense, 888 F. Supp. 2d 282 (D. Conn. 2012) (requesters, including
                                   ACLU, were representatives of the news media and thus qualified for fee
                                   waivers for FOIA requests to the Department of Defense and Department of
                                   Veterans Affairs); ACLU of Wash. v. Dep’t of Justice, No. C09–0642RSL, 2011
                                   WL 887731, at *10 (W.D. Wash. Mar. 10, 2011) (finding that the ACLU of
                                   Washington is an entity that “gathers information of potential interest to a
                                   segment of the public, uses its editorial skills to turn the raw materials into a
                                   distinct work, and distributes that work to an audience”); ACLU, 321 F. Supp.


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                                   2d at 30 n.5 (finding non-profit public interest group to be “primarily engaged in
                                   disseminating information”). The ACLU is therefore a “representative of the
                                   news media” for the same reasons it is “primarily engaged in the dissemination
                                   of information.”

                                           Furthermore, courts have found other organizations whose mission,
                                   function, publishing, and public education activities are similar in kind to the
                                   ACLU’s to be “representatives of the news media” as well. See, e.g., Cause of
                                   Action v. IRS, 125 F. Supp. 3d 145 (D.C. Cir. 2015); Elec. Privacy Info. Ctr.,
                                   241 F. Supp. 2d at 10–15 (finding non-profit public interest group that
                                   disseminated an electronic newsletter and published books was a “representative
                                   of the news media” for purposes of the FOIA); Nat’l Sec. Archive, 880 F.2d at
                                   1387; Judicial Watch, Inc. v. Dep’t of Justice, 133 F. Supp. 2d 52, 53–54
                                   (D.D.C. 2000) (finding Judicial Watch, self-described as a “public interest law
                                   firm,” a news media requester). 15
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                                          On account of these factors, fees associated with responding to FOIA
                                   requests are regularly waived for the ACLU as a “representative of the news
                                   media.” 16 As was true in those instances, the ACLU meets the requirements for
                                   a fee waiver here.

                                                                           *        *        *


                                        15
                                           Courts have found these organizations to be “representatives of the news media” even
                                   though they engage in litigation and lobbying activities beyond their dissemination of
                                   information and public education activities. See, e.g., Elec. Privacy Info. Ctr., 241 F. Supp. 2d 5;
                                   Nat’l Sec. Archive, 880 F.2d at 1387; see also Leadership Conference on Civil Rights, 404 F.
                                   Supp. 2d at 260; Judicial Watch, Inc., 133 F. Supp. 2d at 53–54.
                                       16
                                          The ACLU regularly receives FOIA fee waivers from federal agencies. For example, in
                                   June 2018, the U.S. Citizenship and Immigration Services granted a fee-waiver request
                                   regarding a FOIA request for documents relating to the use of social media surveillance. In
                                   August 2017, CBP granted a fee-waiver request regarding a FOIA request for records relating to
                                   a muster sent by CBP in April 2017. In June 2017, the Department of Defense granted a fee-
                                   waiver request regarding a FOIA request for records pertaining to the authorities approved by
                                   President Trump in March 2017 which allowed U.S. involvement in Somalia. In June 2017, the
                                   Department of Defense, the CIA, and the Office of Inspector General granted fee-wavier
                                   requests regarding a FOIA request for records pertaining to U.S. involvement in the torture of
                                   detainees in prisons in Yemen, Eritrea, and aboard Yemeni or Emirati naval vessels. In May
                                   2017, CBP granted a fee-waiver request regarding a FOIA request for documents related to
                                   electronic device searches at the border. In April 2017, the CIA and the Department of State
                                   granted fee-waiver requests in relation to a FOIA request for records related to the legal
                                   authority for the use of military force in Syria. In March 2017, the Department of Defense Office
                                   of Inspector General, the CIA, and the Department of State granted fee-waiver requests
                                   regarding a FOIA request for documents related to the January 29, 2017 raid in al Ghayil,
                                   Yemen. In June 2016, the Office of the Director of National Intelligence granted a fee-waiver
                                   request regarding a FOIA request related to policies and communications with social media
                                   companies’ removal of “extremist” content. In May 2016, the FBI granted a fee-waiver request
                                   regarding a FOIA request issued to the Department of Justice for documents related to
                                   Countering Violent Extremism Programs.


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                                          Pursuant to applicable statutes and regulations, the ACLU expects a
                                   determination regarding expedited processing within 10 days. See 5 U.S.C.
                                   § 552(a)(6)(E)(ii).

                                           If the Request is denied in whole or in part, the ACLU asks that you
                                   justify all deletions by reference to specific exemptions to FOIA. The ACLU
                                   expects the release of all segregable portions of otherwise exempt material. The
                                   ACLU reserves the right to appeal a decision to withhold any information or
                                   deny a waiver of fees.

                                          Thank you for your prompt attention to this matter. Please furnish the
                                   applicable records to:

                                          Nathan Freed Wessler
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                          American Civil Liberties Union
                                          125 Broad Street, 18th Floor
                                          New York, New York 10004
                                          T: 212.549.2500
                                          nwessler@aclu.org

                                          I affirm that the information provided supporting the request for
                                   expedited processing is true and correct to the best of my knowledge and belief.
                                   See 5 U.S.C. § 552(a)(6)(E)(vi).

                                                                        Sincerely,




                                                                        __________________________
                                                                        Nathan Freed Wessler
                                                                        Evelyn Danforth-Scott
                                                                        Megan C. Keenan
                                                                        American Civil Liberties Union
                                                                          Foundation
                                                                        125 Broad Street, 18th Floor
                                                                        New York, New York 10004
                                                                        T: 212.549.2500
                                                                        nwessler@aclu.org




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                                                      Addendum: Recipient Agencies


                                    Department of Commerce             Census Bureau
                                    Deputy Chief FOIA Officer          FOIA/PA Office
                                    Office of Privacy and Open         4600 Silver Hill Road
                                    Government                         Washington, DC 20233-3700
                                    Room 52010
                                    1401 Constitution Avenue, NW
                                    Washington, D.C. 20230

                                    National Oceanic and Atmospheric   Consumer Financial Protection
                                    Administration                     Bureau
AMERICAN CIVIL LIBERTIES
                                    Mark Graff, FOIA Officer, Room     CFPB, Attn: Chief FOIA Officer
UNION FOUNDATION                    9719 - NOAA FOIA Office (SOU       1700 G Street, NW
                                    10000)                             Washington, DC 20552
                                    1315 East-West Highway
                                    Silver Spring, MD 20910

                                    Department of Agriculture          Food and Nutrition Service
                                    Alexis R. Graves                   Kevin Lynch
                                    Departmental FOIA Officer          1320 Braddock Place
                                    1400 Independence Avenue, SW       Alexandria, VA 22314
                                    Room 4039-A
                                    Washington, DC 20250-0706

                                    Department of Defense              Office of the Secretary and the
                                    Defense Freedom of Information     Joint Staff
                                    Division                           OSD/JS FOIA Requester Service
                                    1155 Defense Pentagon              Center, Office of Freedom of
                                    Washington, DC 20301-115           Information
                                                                       1155 Defense Pentagon
                                                                       Washington, DC 20301-1155

                                    Department of Education            Department of Health and Human
                                    FOIA Service Center, Office of     Services
                                    Secretary                          Freedom of Information Act Office
                                    400 Maryland Avenue, SW            Hubert H. Humphrey Building, Room
                                    Washington, DC 20202-4536          729H
                                                                       200 Independence Avenue, SW
                                                                       Washington, D.C. 20201




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                                    Administration for Children and     Center for Medicare and Medicaid
                                    Families                            Services
                                    Freedom of Information Act Office   Joseph Tripline, FOIA Officer,
                                    Mary E. Switzer Building, Room      Central Building Room C5-11-06
                                    4004                                7500 Security Boulevard
                                    330 C Street, S.W.                  Baltimore, MD 21244
                                    Washington, DC 20201

                                    Centers for Disease Control and     Food and Drug Administration
                                    Prevention                          FDA Division of Freedom of
                                    Roger Andoh, FOIA Officer, MS-      Information, Office of the Executive
                                    D54                                 Secretariat, OC
                                    1600 Clifton Road, N.E.             5630 Fishers Lane, Room 1035
                                    Atlanta, GA 30333                   Rockville, MD 20857
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                    National Institutes of Health       Office of the Secretary – Program
                                    NIH FOIA Office, Building 31,       Support Center
                                    Room 5B35                           Freedom of Information Act Office
                                    31 Center Drive, MSC 2107           Hubert H. Humphrey Building, Room
                                    Bethesda, MD 20892-2107             729H
                                                                        200 Independence Avenue, SW
                                                                        Washington, D.C. 20201

                                    Substance Abuse and Mental          Department of Homeland Security
                                    Health Services Administration      Privacy Office, Mail Stop 0655
                                    FOIA Office,                        Department of Homeland Security
                                    5600 Fishers Lane, 18th Foor        2707 Martin Luther King Jr. AVE
                                    Rockville, MD 20857                 SE
                                                                        Washington, DC 20528-065

                                    Federal Emergency Management        U.S. Citizenship and Immigration
                                    Agency                              Services
                                    Federal Emergency Management        U.S. Citizenship & Immigration
                                    Agency, FOIA Officer,               Services, National Records Center,
                                    500 C Street, SW, Room 840          FOIA/PA Office
                                    Washington, DC 20472                P.O. Box 648010
                                                                        Lee's Summit, MO 64064-8010

                                    Department of Housing and Urban     Bureau of Indian Affairs
                                    Development                         Justin Davis
                                    Chief, Room 10139                   MS-4660
                                    451 7th Street, SW                  1849 C Street, NW Washington, DC
                                    Washington, DC 20410-3000           20240




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                                    National Park Service               Department of Justice
                                    Nicholas Banco                      FOIA/PA Mail Referral Unit, Justice
                                    1849 C Street, Room 2229            Management Division, Room 115,
                                    Washington, DC 20240                LOC Building, Washington, D.C.
                                                                        20530-0001

                                    Federal Bureau of Investigations    Executive Office for US Attorneys
                                    Michael G. Seidel, Section Chief,   Kevin Krebs, Assistant Director,
                                    Record/Information Dissemination    FOIA/Privacy Unit
                                    Section                             175 N Street, NE, Suite 5.400
                                    200 Constitution Drive              Washington, DC 20530-0001
                                    Winchester, VA 22602

                                    Department of Labor                 Mine Safety and Health
                                    Office of the Solicitor             Administration
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                    Division of Management and          Lanesia Washington, FOIA Officer,
                                    Administrative Legal Services       Room 5W231
                                    200 Constitution Ave NW             12th Street South
                                    Room N-2420                         Arlington, VA 22202
                                    Washington, DC 20210

                                    Occupational Safety and Health      Department of State
                                    Administration                      U.S. Department of State
                                    Christopher Durso, FOIA Officer,    Information Access Liaison Office,
                                    Room N3647                          A/SKS/IAP/IAL
                                    200 Constitution Avenue, NW         2201 C Street N.W., Suite B266
                                    Washington, DC 20210                Washington, D.C. 20520-0000

                                    U.S. Agency for International       Department of Veterans Affairs
                                    Development                         Department of Veterans Affairs
                                    1300 Pennsylvania Avenue, N.W.      Freedom of Information Act Services
                                    USAID Annex, M/MS/IRD, Room         (005R1C)
                                    2.4.0A                              811 Vermont Avenue, NW
                                    Washington, DC 20523-2701           Washington, DC 20420

                                    Equal Employment Opportunity        General Services Administration
                                    Commission                          FOIA Contact, FOIA Requester
                                    Michael L. Heise, Assistant Legal   Service Center (LG)
                                    Counsel, Equal Employment           1800 F. Street, NW
                                    Opportunity Commission, Office of   Washington, DC 20405
                                    Legal Counsel, FOIA Programs, 131
                                    M Street, N.E., Suite 5NW22B,
                                    Washington, D.C. 20507




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                                    Office of Management and Budget    Office of Personnel Management
                                    Tim Nusraty, FOIA Officer          U.S. Office of Personnel
                                    725 17th Street NW, Room 9272      Management
                                    Washington, DC 20503               1900 E Street, N.W.
                                                                       OPIM/FOIA Room 5H35
                                                                       Washington, D.C. 20415-7900

                                    Social Security Administration     Department of the Treasury
                                    Social Security Administration     FOIA/PA Request
                                    Office of Privacy and Disclosure   FOIA and Transparency
                                    G-401 WHR                          Department of the Treasury
                                    6401 Security Boulevard            Washington, D.C. 20220
                                    Baltimore, Maryland 21235

                                    Bureau of the Fiscal Service       Internal Revenue Service
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                    FOIA Disclosure Office/Room 508B   Internal Revenue Service, GLDS
                                    3201 Pennsy Drive, Building E.     Support Services Stop 211
                                    Landover, MD 20785                 P.O. Box 621506
                                                                       Atlanta, GA 30362-3006




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                              SOCIAL SECURITY
Refer to:
S9H: 2025-FOIA-00956
                                       February 13, 2025

Ms. Sophie Feng
Mr. Nathan Freed Wessler
American Civil Liberties Union (ACLU)
125 Broad Street, 18th Floor
New York, NY 10004
sfeng@aclu.org

Dear Ms. Feng and Mr. Wessler:

I am responding to your requests for expedited processing and a fee waiver concerning your
February 7, 2025 Freedom of Information Act (FOIA) request to the Social Security
Administration (SSA), wherein you request the following records for the period beginning at
noon Eastern Standard Time on January 20, 2025:

   1. Any request by persons affiliated with or representing the Department of Government
      Efficiency (DOGE), also known as the United States DOGE Service (USDS) for access
      to any data repository, database, system of records, computer matching program, code
      base, or other system containing personally identifiable information (PII), personnel
      records (including records of federal employees, contractors, and applicants), financial
      data, health data, or other sensitive data, and any response to such request;
   2. Any decision, analysis or discussion about whether access to any data repository,
      database, system of records, computer matching program, code base, or other system
      containing personally identifiable information (PII), personnel records, financial data,
      health data, or other sensitive data by persons affiliated with or representing DOGE or
      USDS is prohibited or constrained by statute, regulation, or rule. This includes but is not
      limited to any discussion of protections provided by the Privacy Act; the Health
      Information Portability and Accountability Act (HIPAA) and the HIPAA Privacy Rule;
      the E-Government Act of 2002, including the Federal Information Security Management
      Act and the Confidential Information Protection and Statistical Efficiency Act; taxpayer
      privacy laws including 26 U.S.C § 6103; the Family Educational Rights and Privacy Act
      (FERPA); and census record privacy laws including 13 U.S.C. §§ 9 & 214; and
   3. Any proposed or actual use of artificial intelligence, including but not limited to services,
      models, or other software applications provided by xAI or Grok, by or at the direction or
      request of persons affiliated with or representing DOGE or USDS to analyze agency
      records or data.

You further state:




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        For purposes of this request, “persons affiliated with or representing DOGE or USDS”
        includes, but is not limited to, (1) any individual employed by or volunteering with
        DOGE or USDS, including as a Special Government Employee; (2) any Special
        Government Employee who began work with a federal agency on or after January 20,
        2025; (3) any employee hired by a federal agency since Jan. 20, 2025 who previously
        worked at Tesla, Inc.; X Corp.; Space Exploration Technologies Corporation (SpaceX);
        The Boring Company (TBC); or X.AI Corp.; or (4) the following named individuals, who
        have been publicly reported as being affiliated with or representing DOGE or USDS:

        •   Anthony Armstrong                                  •   Michael Kratsios
        •   Riccardo Biasini                                   •   Tom Krause
        •   Brian Bjelde                                       •   Matt Luby
        •   Akash Bobba                                        •   Nikhil Rajpal
        •   Edward Coristine                                   •   Rachel Riley
        •   Steve Davis                                        •   Michael Russo
        •   Marko Elez                                         •   Amanda Scales
        •   Luke Farritor                                      •   Ethan Shaotran
        •   Nicole Hollander                                   •   Thomas Shedd
        •   Gavin Kilger                                       •   Brad Smith
        •   Gautier “Cole” Killian                             •   Joanna Wischer

We provide expedited processing in three instances only:

    •   when there is an imminent threat to the life or safety of a person;
    •   when the requester is primarily engaged in disseminating information, and shows
        an urgency to inform the public about actual or alleged government activities; or
    •   When the requester can show, in detail and to our satisfaction, that a prompt response is
        needed because the requester may be denied a legal right, benefit, or remedy without
        the requested information, and that it cannot be obtained elsewhere in a reasonable
        amount of time.

We are denying your request for expedited processing since it does not fall into any of these
categories. We will process your request normally.

I reviewed your request for a fee waiver and I have decided not to waive or reduce the fee.
We may waive or reduce the fee under our regulation at 20 C.F.R. § 402.85 if we find that
waiver is in the public interest. We make this determination if we find that disclosure of the
information meets both tests below:

    •   it is in the public interest because it is likely to contribute significantly to
        public understanding of the operations or activities of the government, and
    •   it is not primarily in the requester’s commercial interest.

Our regulation (20 C.F.R. § 402.85(b)) lists factors we consider in analyzing whether
disclosure is in the public interest. These factors include:




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    •   how the records pertain to the Federal government’s operations or activities,
    •   whether disclosure would reveal any meaningful information about
        government operations or activities not already known to the public, and
    •   whether the contribution to public understanding would be significant.

Your fee waiver request fails to explain with reasonable specificity how the disclosure of the
information you requested will meet the above factors, and I have not otherwise found that
release of the records requested would meet the abovementioned factors. Accordingly, applying
the standards listed above, I cannot waive the fee.

We are charging you fees for your request under section 1106(c) of the Social Security Act (Act)
(42 U.S.C. § 1306(c)). Because we have invoked section 1106(c), the FOIA fee provisions in 5
U.S.C. § 552 are not applicable to your request. Section 1106(c) applies notwithstanding FOIA
and provides that we charge the full cost for search and reproduction of records when the
request is for a purpose not directly related to the administration of a program under the Act (20
C.F.R. § 402.80), regardless of the fee provisions in FOIA. We determined that your request is
not directly related to the administration of the Act. Accordingly, we will charge you for the
full cost to provide the requested information (42 U.S.C. § 1306(c); 20 C.F.R. § 402.80).

We will send further correspondence when we determine what fees, if any, apply to your request.

Please note that this response is limited to the determination on your fee waiver and expedited
processing requests; our office is still assessing your request as phrased and will provide
subsequent correspondence on that determination.

If you have questions or would like further assistance with your request, you may contact our
FOIA Public Liaison by email at FOIA.Public.Liaison@ssa.gov; by phone at 410-965-1727, by
choosing Option 2; or facsimile at 833-795-0132.

You may also contact the Office of Government Information Services (OGIS) at the National
Archives and Records Administration for dispute resolution services. OGIS is an entity outside
of the Social Security Administration that offers mediation services to resolve disputes between
FOIA requesters and Federal agencies. The contact information for OGIS is as follows: Office
of Government Information Services, National Archives and Records Administration,
8601 Adelphi Road – OGIS, College Park, MD 20740-6001; email at ogis@nara.gov;
telephone at 202-741-5770; toll-free at 1-877-684-6448; or facsimile at 202-741-5769.

If you disagree with this decision, you may file a written appeal with the Executive Director for
the Office of Privacy and Disclosure, Social Security Administration, G-401 WHR,
6401 Security Boulevard, Baltimore, MD 21235. Your appeal must be postmarked or
electronically transmitted to FOIA.Public.Liaison@ssa.gov within 90 days of the date of our
response to your initial request. Please mark the envelope or subject line with “Freedom of
Information Appeal.”




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Thank you for your requests.

                                         Sincerely,


                                         Michelle L. Christ
                                         Freedom of Information Officer




              SOCIAL SECURITY ADMINISTRATION       BALTIMORE, MD 21235-0001
